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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )
                                                     )                       8:06CR52
       vs.                                           )
                                                     )                         ORDER
ROBERT RALPH EIFERT, II and                          )
DAVID FERNANDO RUBAL,                                )
                                                     )
                        Defendants.                  )


        This matter is before the court on the motion of David Fernando Rubal to continue
trial [23]. Defendant Rubal will be required to file a waiver of speedy trial in accordance
with NECrimR 12.1(a).1 A continuance is necessary due to defense counsel's scheduling
conflicts. For good cause shown,

       IT IS ORDERED that the motion to continue trial [23] is granted, as follows:

       1. Trial is hereby continued from July 11, 2006 to August 1, 2006, before Judge
Laurie Smith Camp and a jury.

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between July 11, 2006 and August
1, 2006, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that failure to grant such a continuance
in the proceeding would be likely to make a continuation of such proceeding impossible,
or result in a miscarriage of justice. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

   1
    The rule provides:
   12.1    Motions to Continue Trial.
           (a) Content of Motion. Unless excused by the court in individual cases, a motion to
               continue the trial setting of a criminal case must state facts demonstrating that the ends
               of justice served by a continuance outweigh the best interest of the public and the
               defendant in a speedy trial, (see 18 U.S.C. § 3161(h)(8)), or that for some other reason,
               the continuance will not violate the Speedy Trial Act. Unless excused by the court in
               individual cases, if the defendant is a moving party the motion shall be accompanied by
               the defendant’s affidavit or declaration (see 28 U.S.C. § 1746) stating that defendant:
               (1) Was advised by counsel of the reasons for seeking a continuance;
               (2) Understands that the time sought by the extension may be excluded from any
                    calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.;
               (3) With this understanding and knowledge, agrees to the filing of the motion; and
               (4) Waives the right to a speedy trial.
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      3.   Defendant shall file a waiver of speedy trial on or before June 30, 2006.

      4. Counsel for the United States shall confer with defense counsel and, no later
than July 25, 2006, advise the court of the anticipated length of trial.

      5.   This order applies to all defendants.

      DATED June 26, 2006.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
